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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION



 IN RE GEORGIA SENATE BILL 202                          MASTER CASE NO.
                                                        1:21-MI-55555-JPB
 GEORGIA STATE CONFERENCE                               Case No. 1:21-CV-01259-JPB
 OF THE NAACP, et al.,

              Plaintiffs,

 v.

 BRAD RAFFENSPERGER, in his
 official capacity as the Secretary of the
 State for the State of Georgia, et al.,

              Defendants.


                      PLAINTIFFS’ RULE 5.4 CERTIFICATE OF SERVICE

          Pursuant to LR 5.4(A), NDGa., I hereby certify that I served the Georgia NAACP

Plaintiffs’ First Set of Requests for Production to the State Defendants to counsel for the State

Defendants by electronic mail on February 8, 2023.


Dated: February 10, 2023                      By: /s/ Vilia B. Hayes

                                                    Attorneys for Plaintiffs Georgia State
                                                    Conference of the NAACP, Georgia Coalition
                                                    for the People’s Agenda, Inc., League of
                                                    Women Voters of Georgia, Inc., GALEO
                                                    Latino Community Development Fund, Inc.,
                                                    Common Cause, and Lower Muskogee Creek
                                                    Tribe




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